        Case 2:12-cr-20043-PKH Document 516                            Filed 11/03/16 Page 1 of 4 PageID #: 2802
AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                         Western District of Arkansas
        UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                   v.                                                  (For Revocation of Probation or Supervised Release)


                                                                       Case No.         2:12CR20043-014
              CARLTON MATHEWS
                                                                       USM No.          11173-010
                                                                                       J. Marvin Honeycutt
                                                                                                Defendant’s Attorney
THE DEFENDANT:
X admitted guilt to violation of condition(s)             See Below                    of the term of supervision.
    was found in violation of condition(s) count(s)                                after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                            Violation Ended
1                            Unlawful use of a controlled substance                                         June 7, 2016
2                            Failure to submit to drug testing                                              June 1, 2016
3                            Failure to substance abuse assessment                                          June 9, 2016
4                            Failure to report to the probation office as instructed                        June 13, 2016
6                            Associating with person engaged in criminal activity and or felon              June 25, 2016

       The defendant is sentenced as provided in pages 2 through          4        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
X The defendant has not violated condition(s)            #5               and is discharged as to such violation(s) condition.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec.              2452                                     November 3, 2016
No.:                                                                                       Date of Imposition of Judgment
Defendant’s Year of Birth:    1985
                                                                                                /S/ P.K. Holmes, III
City and State of Defendant’s Residence:                                                         Signature of Judge
                  Waldron, AR 72958
                                                                        Honorable P.K. Holmes, III, Chief United States District Judge
                                                                                              Name and Title of Judge


                                                                                                November 3, 2016
                                                                                                        Date
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AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 2— Imprisonment

                                                                                                  Judgment — Page   2       of   4
DEFENDANT:                CARLTON MATHEWS
CASE NUMBER:              2:12CR20043-014


                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
                  7 months with credit for time served since October 4, 2016. Further, there will be no term of supervised
term of :
                  release to follow the term of imprisonment.




     X The court makes the following recommendations to the Bureau of Prisons:

        The Court recommends the defendant participate in a substance abuse treatment program while in the Federal Bureau of
        Prisons.


     X The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
              at                                      a.m.           p.m.       on                                      .
              as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                              .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




        Defendant delivered on                                                         to

at                                                  with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                            By
                                                                                            DEPUTY UNITED STATES MARSHAL
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AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 5 — Criminal Monetary Penalties

                                                                                                      Judgment — Page   3   of     4
DEFENDANT:                CARLTON MATHEWS
CASE NUMBER:              2:12CR20043-014
                                               CRIMINAL MONETARY PENALTIES

     The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.

                   Assessment                    JVTA Assessment*                     Fine                   Restitution
TOTALS          $ 25.00 *                    $ -0-                                  $ -0-                  $ -0-
* $25.00 is the unpaid balance of the original special assessment.

     The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will
     be entered after such determination.

     The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

   If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
   otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
   victims must be paid before the United States is paid.
Name of Payee                           Total Loss**                 Restitution Ordered            Priority or Percentage




TOTALS                               $                          0.00            $                         0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          the interest requirement is waived for the                 fine            restitution.
          the interest requirement for the              fine             restitution is modified as follows:
                                                                     S
* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.
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AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 6 — Schedule of Payments

                                                                                                      Judgment — Page        4       of       4
DEFENDANT:                  CARLTON MATHEWS
CASE NUMBER:                2:12CR20043-014

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X Lump sum payment of $              25.00                      due immediately.

                not later than                                          , or
                in accordance with           C,           D,           E, or      F below); or

B          Payment to begin immediately (may be combined with                   C,           D, or        F below); or

C          Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to
           term of supervision; or                                         a

E          Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release
           from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay.
F          Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment
of criminal monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments
made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
     corresponding payee, if appropriate.




     The defendant shall pay the cost of prosecution.

     The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
